Case 2:08-cr-00010-EFS   ECF No. 567   filed 05/05/14   PageID.2939 Page 1 of 5
Case 2:08-cr-00010-EFS   ECF No. 567   filed 05/05/14   PageID.2940 Page 2 of 5
Case 2:08-cr-00010-EFS   ECF No. 567   filed 05/05/14   PageID.2941 Page 3 of 5
Case 2:08-cr-00010-EFS   ECF No. 567   filed 05/05/14   PageID.2942 Page 4 of 5
Case 2:08-cr-00010-EFS   ECF No. 567   filed 05/05/14   PageID.2943 Page 5 of 5
